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 1   BENJAMIN B. WAGNER
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 2   KAREN A. ESCOBAR
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 3   2500 Tulare Street
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 4   Telephone: (559) 497-4000

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 7

 8                IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )       1:12-cr-00283 AWI
                                        )
12                  Plaintiff,          )
                                        )
13        v.                            )       STIPULATION TO ORDER TO
                                        )       CALENDAR MATTER BEFORE
14                                      )       BEFORE THE HONORABLE ANTHONY
                                        )       W. ISHII
15   MAIRO CORREA-GARCIA,               )
                                        )
16                                      )
                                        )
17                  Defendant.          )
     ___________________________________)
18
            Defendant, by and through his attorney, DALE BLICKENSTAFF,
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     and the United States of America, by and through its attorneys,
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     BENJAMIN B. WAGNER, United States Attorney, and KAREN A. ESCOBAR,
21
     Assistant United States Attorney, hereby enter into the following
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     stipulation:
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            The parties to the above-captioned matter agree to set the
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     above-captioned matter for a change of plea before this Court on
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     ////
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     ////
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     ////
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 1   October 1, 2012, at 11:00 and vacate his status conference before

 2   Judge Dennis L. Beck at 1:00 p.m. on October 9.

 3   DATED: September 27, 2012                   Respectfully submitted,

 4                                               BENJAMIN B. WAGNER
                                                 United States Attorney
 5
                                                 By: /s/ Karen A. Escobar
 6                                                 KAREN A. ESCOBAR
                                                 Assistant U.S. Attorney
 7
                                                  /s/ Dale Blickenstaff
 8                                                DALE BLICKENSTAFF
                                                  Attorney for Defendant
 9                                                Mairo Correa-Garcia

10                                 O R D E R

11        Having read and considered the foregoing stipulation,

12        IT IS THE ORDER of the Court that the above-captioned matter

13   shall be set for a change of plea before this Court on October 1,

14   2012, at 11:00 a.m. and that his status conference before Judge

15   Dennis L. Beck on October 9 shall be vacated.

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17    IT IS SO ORDERED.
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     Dated:       September 27, 2012
19   0m8i78                      CHIEF UNITED STATES DISTRICT JUDGE
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